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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

MT. PLEASANT BLACKTOPPING                              :      Case No. 3:18-cv-417
COMPANY INC.                                           :
                                                       :
                Plaintiff,                             :      Judge Thomas M. Rose
                                                       :
v.                                                     :
                                                       :
GREENE COUNTY, OHIO, et al.                            :
                                                       :
                Defendants.                            :


                                              ORDER


         As the parties are aware, the Court has received several motions in this matter that are now

fully briefed. (See Docs. 57, 82, 83, 84, 96, 104, 109, 113, 117, 122.) Apart from the “Motion

to Bifurcate Damages Claims” (Doc. 57), the motions are motions for summary judgment or

motions that are directly related to those motions for summary judgment.

         Although this case has been pending for quite some time, and despite the presumption that

all parties would like to resolve the matter as soon as possible, the Court vacates the current case

schedule—including the approaching final pretrial conference and trial dates—in light of the

voluminous briefing and issues presented in the pending motions, as well as the Court’s obligations

in other cases. After ruling on the pending motions for summary judgment, the Court will issue

a new case schedule, including new dates for the Final Pretrial Conference and Trial, if appropriate.

         Accordingly, it is hereby ORDERED that:

         1.     The remaining dates in the current case schedule (see Doc. 56) are
                VACATED; and,
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    2.    If appropriate after it has ruled on the pending motions for summary
          judgment (Docs. 82, 83, 84), the Court will issue a new case schedule—
          including a new trial date.

    DONE and ORDERED in Dayton, Ohio, this Tuesday, October 27, 2020.

                                                         s/Thomas M. Rose
                                                 ________________________________
                                                         THOMAS M. ROSE
                                                 UNITED STATES DISTRICT JUDGE




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